       Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 1 of 12



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13
                                      UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
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16
     SHANNON IRELAND-GORDY and                          Case No. 3:23-CV-04119-RFL
17   STEPHANIE IRELAND GORDY, MELISSA
     BROAD, and JANE DOE individually and on            PLAINTIFFS’ NOTICE OF MOTION
18   behalf of all others similarly situated,           AND MOTION TO PROCEED UNDER
                                                        A PSEUDONYM AS TO JANE DOE;
19                      Plaintiffs,                     MEMORANDUM OF POINTS AND
                                                        AUTHORITIES IN SUPPORT
20          v.                                          THEREOF

21   TILE, INC., LIFE360, INC., and                     Hearing Date:      September 17, 2024
     AMAZON.COM, INC.,                                  Hearing Time:      10:00 a.m.
22                                                      Judge:             Rita F. Lin
                        Defendants.                     Dept.              15
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                                                                        PLAINTIFFS’ MOTION TO PROCEED
                                                                        UNDER A PSEUDONYM
                                                                        CASE NO. 3:23-CV-04119-RFL
        Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 2 of 12



 1                                                    TABLE OF CONTENTS
 2   TABLE OF AUTHORITIES .......................................................................................................... ii
 3   NOTICE OF MOTION AND MOTION TO PROCEED UNDER A PSEUDONYM .................. 1
 4   STATEMENT OF RELIEF SOUGHT ........................................................................................... 1
 5   STATEMENT OF ISSUES TO BE DECIDED ............................................................................. 1
 6   MEMORANDUM OF POINTS AND AUTHORITIES ................................................................ 2
 7      I.    INTRODUCTION .............................................................................................................. 2
 8    II.     FACTUAL BACKGROUND ............................................................................................. 3
 9   III.     ARGUMENT ...................................................................................................................... 4
10           A.       The Severity of the Threatened Harm and the Reasonableness of Ms. Doe’s Fears
                      Weigh in Favor of Anonymity. .................................................................................. 4
11
             B.       Ms. Doe is Vulnerable to Retaliation. ........................................................................ 5
12
             C.       There is no Prejudice to Defendants. ......................................................................... 6
13
             D.       The Public Will Not Be Harmed by Permitting Ms. Doe to Proceed
14                    Anonymously. ............................................................................................................ 7
15   IV.      CONCLUSION ................................................................................................................... 7
16

17
18
19

20
21
22
23
24
25
26
27
28
                                                                          i                           PLAINTIFFS’ MOTION TO PROCEED
                                                                                                      UNDER A PSEUDONYM
                                                                                                      CASE NO. 3:23-CV-04119-RFL
        Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 3 of 12



 1                                                    TABLE OF AUTHORITIES
 2   Cases                                                                                                                        Page
 3   Advanced Textile Corp.
           214 F.3d at 1068.....................................................................................................................5, 7
 4
     Doe v. County of El Dorado
 5          2013 U.S. Dist. LEXIS 169883 (E.D. Cal. Dec. 2, 2013)......................................................6, 7
 6   Doe v. Github, Inc.
            672 F. Supp. 3d 837 (N.D. Cal. 2023) .......................................................................................6
 7
     Doe v. Kamehameha Sch.
 8          596 F.3d 1036 (9th Cir. 2010)................................................................................................4, 7
 9   Doe v. Madison School Dist. No. 321
            147 F.3d 832 (9th Cir. 1998)......................................................................................................5
10
     Does I thru XXIII v. Advanced Textile Corp.
11          214 F.3d 1058 (9th Cir. 2000)............................................................................................. 4
12   Poozesh v. Pompeo
           2019 U.S. Dist. LEXIS 198724 (E.D. Cal. Nov. 15, 2019) ................................................ 5
13
     Providence Health
14          2007 U.S. Dist. LEXIS 50656 (D. Or. June 26, 2007) ....................................................... 6
15   United States v. Doe
            655 F.2d 920 (9th Cir. 1980)............................................................................................... 5
16

17
18
19

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21
22
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                                                                            ii                           PLAINTIFFS’ MOTION TO PROCEED
                                                                                                         UNDER A PSEUDONYM
                                                                                                         CASE NO. 3:23-CV-04119-RFL
       Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 4 of 12



 1       NOTICE OF MOTION AND MOTION TO PROCEED UNDER A PSEUDONYM
 2          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3          PLEASE TAKE NOTICE THAT on September 17, 2024 at 10:00 a.m., or as soon thereafter
 4   as this matter may be heard in the above-titled Court, located at 450 Golden Gate Avenue, 18th
 5   Floor, Courtroom 15, San Francisco, CA 94102, Plaintiffs Shannon Ireland-Gordy, Stephanie
 6   Ireland Gordy, Melissa Broad, and Jane Doe (“Plaintiffs”) will and hereby do move this Court for
 7   an order allowing Plaintiff Jane Doe (“Ms. Doe”) to proceed under a pseudonym in this matter.
 8   This Motion is based on this Notice of Motion and Motion, the accompanying Memorandum of
 9   Points and Authorities, the concurrently filed Declaration of Ms. Doe, all pleadings and papers on
10   file in this matter, and upon such matters as may be presented to the Court at the time of hearing
11   on this Motion.
12                               STATEMENT OF RELIEF SOUGHT
13          Plaintiffs seek an order allowing Ms. Doe to proceed under a pseudonym in this matter.
14                           STATEMENT OF ISSUES TO BE DECIDED
15          Whether Plaintiffs are entitled, under the applicable standard set forth in Does I thru XXIII
16   v. Advanced Textile Corp., 214 F.3d 1058, 1068 (9th Cir. 2000), to an order allowing Ms. Doe to

17   proceed under a pseudonym in this matter.
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                                                      1                   PLAINTIFFS’ MOTION TO PROCEED
                                                                          UNDER A PSEUDONYM
                                                                          CASE NO. 3:23-CV-04119-RFL
       Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 5 of 12



 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2      I.      INTRODUCTION
 3           The case law is clear litigants should not have their personal safety compromised as a result
 4   of court proceedings. Courts frequently allow parties to litigate anonymously when proceeding
 5   otherwise would publicly link them to highly personal and sensitive information, and place them at
 6   risk for harm. Plaintiff Jane Doe (“Ms. Doe”) is no exception. Ms. Doe is the victim of surreptitious
 7   stalking by her ex-boyfriend, who used Defendants’ Tile Tracker to track her movements, which
 8   not only damaged her sense of personal autonomy and caused severe emotional distress, but
 9   exposed her to the risk of future harm. As described herein, Ms. Doe has taken steps to conceal her
10   location in an attempt to ensure her former stalker cannot find her again. Despite these measures,
11   Ms. Doe remains, understandably, afraid her ex-boyfriend could find her and torment her anew.
12   Due to her reasonable and persistent fear of reprisal from her ex-boyfriend, Plaintiff initiated this
13   lawsuit under a pseudonym to ensure that her identity was not public and, therefore, her ex-
14   boyfriend would not be made aware that his actions were part of the allegations in this lawsuit.
15           While the normal rules of civil procedure require a plaintiff to identify herself when filing
16   a complaint, Ninth Circuit authority provides a party may preserve his or her anonymity when the

17   need to do so outweighs prejudice to the opposing party and the public interest in disclosure of
18   information. As argued more completely below, compelling Plaintiff to disclose her identity on the
19   public docket serves no purpose other than to expose Plaintiff to potential harassment or, worse,

20   violence, when there is no countervailing interest in disclosure. Notably, Defendants have indicated
21   they do not intend to oppose the earlier-filed Administrative Motion to File Under Seal Declaration
22   of Jane Doe (ECF No. 43), which seeks substantially similar relief, and Defendants are already
23   aware of Ms. Doe’s identity. Lastly, because Ms. Doe’s identity is not central to the issues raised
24   in this case, the public interest will not be harmed by permitting her to proceed pseudonymously.
25           Accordingly, for the reasons articulated below, Plaintiffs respectfully request that this Court
26   permit Ms. Doe to continue to proceed pseudonymously until such a time as Defendants can
27   articulate a compelling need to proceed otherwise.
28
                                                       2                    PLAINTIFFS’ MOTION TO PROCEED
                                                                            UNDER A PSEUDONYM
                                                                            CASE NO. 3:23-CV-04119-RFL
       Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 6 of 12



 1       II.      FACTUAL BACKGROUND
 2             This case arises from the design, marketing, manufacturing, and sale by Defendants of a
 3   small, physical device known as a Tile Tracker, which is small enough to be easily and covertly
 4   planted almost anywhere, including, for example, within the frame of a vehicle or the lining of a
 5   purse or suitcase. ECF No. 32 ¶ 27. These devices were creating well deserved concern in the media
 6   as early as 2013 due to their suitability for use by stalkers to find their victims. ECF No. 32 ¶¶ 33-
 7   46. This danger multiplied exponentially in 2021, when Tile teamed up with Amazon Sidewalk
 8   network products (e.g., Bridge, Echo, and Ring) to expand the reach and efficacy of the Trackers,
 9   resulting in a network that now reaches 90% of the U.S. population. ECF No. 32 ¶¶ 65-66.
10   Defendants created a product capable of finding almost anyone anywhere, without their knowledge
11   or consent, and they did so without creating any effective safety precautions or limitations. ECF
12   No. 32 ¶¶ 8-9, 50-63.
13             Ms. Doe was stalked by her ex-boyfriend with a Tile Tracker in March 2024. Doe Decl. ¶
14   2. On or about March 24, 2024, Ms. Doe became concerned when, following her breakup, she was
15   at her friend’s boyfriend’s house, and was alerted, by her friend’s boyfriend, that there was a
16   suspicious vehicle driving down the street. Id. She immediately recognized the person as her ex-

17   boyfriend. Id. Ms. Doe knew her ex-boyfriend had a Life 360 account and became suspicious that
18   he might be using a Tile Tracker to follow her. Id. ¶ 3. She downloaded the Tile app to deploy Scan
19   and Secure on her ride home, which revealed the Tile Tracker was in her proximity, but did not

20   allow her to locate it, nor did it allow her to trigger a noise or any other sensory alert that enabled
21   her to locate the device. Id. ¶ 3.
22             On March 28, 2024, Ms. Doe physically removed the front seats of her car, but still could
23   not find the Tile Tracker. Id. ¶ 4. She reached out to the police, but was informed they could not
24   help her unless the device were found. Id. Ultimately, Ms. Doe removed the entire back seat of her
25   car and found the Tile Tracker hidden in the car’s frame. Id. ¶ 5. Once she found the Tile Tracker,
26   she destroyed the device. Id.
27             Due to the surreptitious nature of the Tile Tracker, Ms. Doe was tracked for an untold period of

28   time by her stalker, and due to the profound difficulties of locating the Tracker, Ms. Doe had to almost
                                                          3                    PLAINTIFFS’ MOTION TO PROCEED
                                                                               UNDER A PSEUDONYM
                                                                               CASE NO. 3:23-CV-04119-RFL
       Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 7 of 12



 1   entirely disassemble her vehicle in order to locate and disable the Tile that was being used to stalk her.

 2   Id. Ever since the stalking, Ms. Doe has had profound trust problems, as well as a more omnipresent
 3   anxiety in her day-to-day life. Id. ¶ 6. Ms. Doe has had an overwhelming fear her ex-boyfriend
 4   could find her and harass her, or worse, expose her to violence. Id. This fear is justified, given he
 5   has committed property damage in retaliation against Ms. Doe and has sent threatening messages
 6   to her family. Id. ¶ 8. Ms. Doe has had a difficult time sleeping and has a consistent nervousness
 7   about being followed. Id. ¶ 6.
 8       III.      ARGUMENT
 9              The case law is clear “a party may preserve his or her anonymity in judicial proceedings in
10   special circumstances when the party's need for anonymity outweighs prejudice to the opposing
11   party and the public's interest in knowing the party's identity.” Does I thru XXIII v. Advanced Textile
12   Corp., 214 F.3d 1058, 1068 (9th Cir. 2000). In particular, courts allow parties to use pseudonyms
13   where “nondisclosure of the party's identity is necessary to protect a person from harassment,
14   injury, ridicule or personal embarrassment.” Id. at 1067-68."To determine whether to allow a party
15   to proceed anonymously when the opposing party has objected, a district court must balance five
16   factors: (1) the severity of the threatened harm, (2) the reasonableness of the anonymous party's

17   fears, (3) the anonymous party's vulnerability to such retaliation, (4) the prejudice to the opposing
18   party, and (5) the public interest." Doe v. Kamehameha Sch., 596 F.3d 1036, 1042 (9th Cir. 2010)
19   (internal quotation marks and citation omitted). Although Defendant has not objected to Plaintiffs’

20   requested relief, these factors nevertheless weigh in favor of Ms. Doe’s anonymity.
21                 A.      The Severity of the Threatened Harm and the Reasonableness of Ms.
22                         Doe’s Fears Weigh in Favor of Anonymity.

23              The first two factors under the balancing test, i.e. the severity of the threatened harm and

24   the reasonableness of the anonymous party's fears, are "intricately related and should be addressed

25   together." Kamehameha Sch., 596 F.3d at 1043. To establish the reasonableness of the anonymous

26   party's fears "'plaintiffs are not required to prove that the defendants intend to carry out the

27   threatened retaliation. What is relevant is [whether] plaintiffs were threatened, and [whether] a

28   reasonable person would believe that the threat might actually be carried out.'" Kamehameha Sch.,
                                                         4                     PLAINTIFFS’ MOTION TO PROCEED
                                                                               UNDER A PSEUDONYM
                                                                               CASE NO. 3:23-CV-04119-RFL
       Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 8 of 12



 1   596 F.3d at 1044 (quoting Advanced Textile, 214 F.3d at 1071). In United States v. Doe, 655 F.2d
 2   920 (9th Cir. 1980), the Ninth Circuit held the use of a pseudonyms for a prison inmate was
 3   appropriate because he “faced a serious risk of bodily harm" if his role as a government witness
 4   were disclosed. Id. at 922 n.1. In Doe v. Madison School Dist. No. 321, 147 F.3d 832 (9th Cir.
 5   1998), the court observed plaintiff was allowed to proceed under a pseudonym “because she feared
 6   retaliation from the community.” Poozesh v. Pompeo, No. 1:19-cv-01466-LJO-SKO, 2019 U.S.
 7   Dist. LEXIS 198724, at *3 (E.D. Cal. Nov. 15, 2019). The Ninth Circuit has confirmed the use of
 8   a pseudonym may be appropriate if identification creates a risk of retaliatory physical or mental
 9   harm.” Advanced Textile Corp., 214 F.3d at 1068 (emphasis added). Thus, that some of the
10   threatened harm feared by Ms. Doe is mental (e.g., pervasive anxiety and crippling emotional
11   distress) in no way diminishes her request for anonymity.
12          The first two elements of the balancing test certainly weigh in Ms. Doe’s favor. Ms. Doe
13   was harassed and stalked by her ex-boyfriend, who used the Tile Tracker to keep tabs on her every
14   movement. Doe Decl. ¶¶ 2-5. She only was able to locate the Tile Tracker after many days of
15   searching and having to remove all the seats in her car. Id. ¶¶ 3-5. But Ms. Doe’s nightmare was
16   not over when the Tile Tracker was located. She continued to live in fear, developing profound

17   trust problems, and suffering pervasive anxiety in her day-to-day life. Id. ¶ 6. Ms. Doe testified she
18   would not park anywhere far from her ultimate destination or out of view of a security camera. Id.
19   She has had difficulty sleeping. Id. Indeed, Ms. Doe feels a consistent nervousness and is convinced

20   she is always being followed. Id. Compounding these fears is her stalker’s conduct in committing
21   property damage and sending threatening messages to her family. Id. ¶ 8.
22          There can be no doubt Plaintiff legitimately and rightfully fears her ex-boyfriend’s
23   knowledge of her whereabouts. This fear is both severe and reasonable, given what her ex-
24   boyfriend did in the past—embedding a tracking device in the inside of her car—to find her.
25              B.      Ms. Doe is Vulnerable to Retaliation.
26          Ms. Doe certainly would be vulnerable to harm should her identity be revealed. Plaintiff
27   fears her identity being made public because she has a severe and reasonable fear of her ex-
28   boyfriend knowing when she will be in court. Doe Decl. ¶ 7. Courts recognize stalking victims’
                                                       5                    PLAINTIFFS’ MOTION TO PROCEED
                                                                            UNDER A PSEUDONYM
                                                                            CASE NO. 3:23-CV-04119-RFL
       Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 9 of 12



 1   fears and the profound impact on both their sense of personal safety and ability to go about their
 2   daily lives should their stalkers become aware of their home address and involvement in a legal
 3   proceeding. Applying the Ninth Circuit’s balancing test and permitting a stalking victim to proceed
 4   anonymously even though the victim’s home address was known to her stalker, the court in
 5   Providence Health reasoned as follows:
 6          Even accepting as true that the individual knows Jane Roe's home address and some
            of the places she frequents, she will still face a greater risk of harm if the individual
 7          knows of her involvement in this court proceeding. If the individual gains
            knowledge of Jane Roe's involvement in this case, he will have access to substantial
 8          personal information, and the dates and times of her court proceedings. Jane Roe
            will be less able to protect herself outside of her home. Her daily strategic
 9          advantages will be curtailed; she cannot modify her daily routine and traveling
            routes if the individual knows the date, time, and location of her court proceedings.
10
11          Providence Health, No. 06-1680-HU, 2007 U.S. Dist. LEXIS 50656, at *7 (D. Or. June 26,
12   2007). Like the plaintiff in Providence Health, Ms. Doe should not have to fear for her personal
13   safety when traveling to the courthouse to litigate her claims against Defendants and serve as a
14   class representative.
15              C.      There is no Prejudice to Defendants.
16          Defendants will not be prejudiced if Ms. Doe were permitted to proceed pseudonymously

17   because Plaintiffs have agreed to disclose her identity to Defendant for the purpose of the litigation
18   and have indeed done so. ECF No. 43-3; see Doe v. Github, Inc., 672 F. Supp. 3d 837, 853-54 (N.D.
19   Cal. 2023) (concluding defendants would not be prejudiced because "Plaintiffs have disclosed their

20   true names to Defendants subject to a protective order, so pseudonymity should not impede
21   Defendants' ability to develop their case."). Additionally, Defendants have informed Plaintiffs’
22   counsel they do not intend to oppose Plaintiffs’ Administrative Motion to File Under Seal
23   Declaration of Jane Doe (ECF No. 43), which seeks substantially the same relief as the instant
24   Motion. See Castaneda Decl. ¶ 3, Ex. A. Defendants are unlikely to demonstrate any prejudice
25   associated with Ms. Doe proceeding pseudonymously at this stage of the litigation. See Doe v.
26   County of El Dorado, No. 2:13-CV-01433-KJM, 2013 U.S. Dist. LEXIS 169883, at *12 (E.D. Cal.
27   Dec. 2, 2013) (explaining that, "at the prediscovery stage . . . the court need not yet consider the
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                                                       6                     PLAINTIFFS’ MOTION TO PROCEED
                                                                             UNDER A PSEUDONYM
                                                                             CASE NO. 3:23-CV-04119-RFL
      Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 10 of 12



 1   prejudice defendant will suffer during discovery," as "the relevant prejudice is that which defendant
 2   presently suffers as a result of plaintiff's anonymity").
 3
                 D.      The Public Will Not Be Harmed by Permitting Ms. Doe to Proceed
 4                       Anonymously.
 5            Finally, the public interest factor does not weigh against permitting Ms. Doe to proceed

 6   pseudonymously. “The normal presumption in litigation . . . that parties must use their real names

 7   . . . is loosely related to the public's right to open courts and the right of private individuals to

 8   confront their accusers.” Kamehameha, 596 F.3d at 1042. Where the plaintiff’s identity not central

 9   to the issues raised by a case, however, the public interest may not be harmed by permitting

10   plaintiffs to proceed pseudonymously. See Advanced Textile, 214 F.3d at 1072 (reversing denial of

11   anonymity where “[t]he district court did not explain, and we fail to see, how disguising plaintiffs'

12   identities will obstruct public scrutiny of the important issues in th[e] case”); Kamehameha, 596

13   F.3d at 1043 (noting, where plaintiffs brought "claims of widespread discrimination," "it [wa]s

14   difficult to see ‘how disguising plaintiffs' identities w[ould] obstruct public scrutiny of the

15   important issues in th[e] case’”) (quoting Advanced Textile, 214 F.3d at 1072). Withholding Ms.

16   Doe’s identity will not obstruct public scrutiny of the issues raised. Ms. Doe’s name and identity

17   has no bearing on the central issues of this case, including whether Defendants breached their duty

18   of care in their design, marketing, and introduction into the market of the Tile Tracker and whether

19   Defendants are liable to Plaintiffs due to design defects of the Tile Tracker. In sum, the public

20   interest factor does not weigh against anonymity at this stage of the litigation. See El Dorado, 2013

21   U.S. Dist. LEXIS 169883, at *14 (finding public interest factor weighed in favor of anonymity

22   where the "[p]laintiff's identity appears to have no bearing on the resolution of the issues, and a

23   pseudonym will not impede public access to the substance of the proceedings").

24      IV.      CONCLUSION

25            For all the foregoing reasons, Plaintiffs respectfully request that the Court grant their motion

26   to allow Ms. Doe to proceed under a pseudonym.

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                                                         7                    PLAINTIFFS’ MOTION TO PROCEED
                                                                              UNDER A PSEUDONYM
                                                                              CASE NO. 3:23-CV-04119-RFL
      Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 11 of 12



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23                                     and on behalf of all others similarly situated

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                                                               CASE NO. 3:23-CV-04119-RFL
      Case 3:23-cv-04119-RFL Document 46 Filed 08/02/24 Page 12 of 12



 1
 2                                      CERTIFICATE OF SERVICE

 3           I hereby certify that a true and correct copy of the foregoing document was filed with the

 4   Court and electronically served through the CM-ECF system which will send a notification of such

 5   filing to all counsel of record.

 6
 7   Dated: August 2, 2024                        WADE KILPELA SLADE LLP

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                                                                         CASE NO. 3:23-CV-04119-RFL
